[Cite as Middleburg Hts. v. Brown, 2024-Ohio-3193.]

                               COURT OF APPEALS OF OHIO

                              EIGHTH APPELLATE DISTRICT
                                 COUNTY OF CUYAHOGA



CITY OF MIDDLEBURG HEIGHTS,                           :

                Plaintiff-Appellee,                   :
                                                            No. 113526
                v.                                    :

PANAGIOTA BROWN,                                      :

                Defendant-Appellant.                  :


                               JOURNAL ENTRY AND OPINION

                JUDGMENT: AFFIRMED
                RELEASED AND JOURNALIZED: August 22, 2024


                      Criminal Appeal from the Berea Municipal Court
                                Case No. 2021-CRB-00735


                                           Appearances:

                Myra Staresina Severyn, Assistant City Prosecutor and
                Assistant Director of Law, for appellee.

                Stephen McGowan, for appellant.


MARY EILEEN KILBANE, J.:

                  Defendant-appellant Panagiota Brown (“Panagiota”) appeals her

conviction. For the following reasons, we affirm.

Factual and Procedural History
               On June 10, 2021, the City of Middleburg Heights (“the City”) filed a

complaint against Panagiota alleging domestic violence in violation of R.C.

2919.25(A). The complaint alleged that on June 9, 2021, in Middleburg Heights,

Ohio, Panagiota knowingly caused physical harm to her husband, Z.B., with whom

she has a minor child, by shutting a car door on Z.B.’s arm resulting in bruising and

scratching him on the left side of his face.

               On that same date, Panagiota pleaded not guilty and was released on

personal bond, and the trial court issued an order of protection limiting Panagiota’s

interactions with Z.B.

               On September 2, 2021, Panagiota waived her right to a speedy trial,

and on October 25, 2021, Panagiota requested a trial by jury. Over a year later, on

February 21, 2023, Panagiota filed a notice of self-defense pursuant to Crim.R. 12.2,

a motion to compel additional discovery on self-defense, and a motion in limine, and

on March 7, 2023, the trial court conducted a hearing on those motions. On March

14, 2023, the City sought an order compelling Panagiota to produce a complete,

unedited, and unredacted copy of the videotape Panagiota secured during the June

9, 2021 incident. The trial court denied the City’s motion but ordered Panagiota to

provide the prosecution with a copy of the videotape prior to trial if she intended to

use the recording. The video was not provided to the City prior to trial nor was it

introduced at trial.

               The trial court commenced a jury trial on August 9, 2023.
               The evidence demonstrated that on June 9, 2021, Z.B. parked his

truck in the Middleburg Heights McDonald’s parking lot and waited for Panagiota

so that they could conduct the court-sanctioned exchange of their six-year-old child,

G.B., for visitation. While the trial court ordered the exchange of G.B. to occur inside

the McDonald’s restaurant, Z.B. stated some exchanges prior to June 9, 2021,

occurred with Panagiota remaining in her vehicle, and Z.B. removing G.B. from the

back seat.

               Z.B. stated that Panagiota arrived and exited her vehicle, and G.B.

kept locking the rear driver’s side door so that his mom could not open the door.

Z.B. stated that he saw Panagiota step back about 15-20 feet from her vehicle and

use her telephone to videotape G.B. as she did at every exchange. Z.B. interpreted

Panagiota’s actions as a nonverbal invitation to remove G.B. from her back seat. Z.B.

conceded Panagiota did not grant him verbal permission to enter her car, but he did

not recall her telling him to “get away from her car.” Tr. 24.

               Z.B. testified that he approached Panagiota and asked her twice to

unlock the vehicle with her key fob, and Panagiota failed to respond. Z.B. stated that

he reached through the driver’s side door, unlocked and opened the back door, and

began to unbuckle G.B. Z.B. further stated that Panagiota approached the vehicle

and closed the car door on him while his torso was inside the vehicle, causing the

door to strike his back.

               Z.B. further testified that as he walked to his truck with G.B. in his

arms, Panagiota walked behind him striking his arms and forehead and asking that
he hand over their son to her. Z.B. stated that after he buckled his son into his truck,

he realized that he left G.B.’s shoes in Panagiota’s vehicle. Z.B. stated he could see

the flip flops in Panagiota’s vehicle — where the back door was still open; Z.B. further

stated he pointed to the shoes and asked if Panagiota could grab them to which she

responded negatively.

               According to Z.B., he slowly walked to Panagiota’s vehicle, reached in

for G.B.’s shoes, and Panagiota slammed the car door on his arm. Z.B. further stated

that he retrieved the shoes, said a few curse words, and headed back to his truck;

Z.B. conceded he was very upset. Z.B. testified that before he could enter the driver’s

seat of his truck, Panagiota had retrieved G.B. from his back seat and returned to

her vehicle with him. Z.B. called the police at that point, and upon their arrival he

described the events as he testified at trial.

               Z.B. stated a police officer obtained photographs of him that

accurately depicted the scratches on his forehead and arms caused by Panagiota

scratching him as well as mild contusions on his left arm from when Panagiota

slammed the door on him. Z.B. further testified that following the incident his

forearm hurt and he obtained x-rays that were negative for fractures and his left

shoulder hurt him for about one month.

               Patrolman Nicholas Spronz (“Patrolman Spronz”), a member of the

Middleburg Heights Division of Police, was dispatched to the Middleburg Heights

McDonald’s where he interviewed Z.B., Panagiota, and an independent witness.
According to Patrolman Spronz, Z.B. informed him of the same sequence of events

as he testified to at trial.

                Patrolman Spronz provided this summary of his conversation with

Panagiota:

       Ms. Panagiota advised me that she arrived on scene, she stepped away
       from her vehicle, began filming. [Z.B.] came up, removed [the child]
       from the vehicle, returned to grab shoes. She stated at this point she
       told him she did not want him going inside of her vehicle. She stated
       that [Z.B.] went into the vehicle regardless, grabbed the shoes, and she
       did state that she attempted to close the door on him while he was
       inside the vehicle accessing it.

Tr. 46-47. Patrolman Spronz further testified that Panagiota did not state the

incident was an accident and did not deny that she slammed the car door on Z.B.’s

body and arm.

                Patrolman Spronz testified that Panagiota showed him the video she

secured on her telephone during the exchange with Z.B., and he described what he

saw on the video recording. Patrolman Spronz recalled that the video depicted Z.B.,

from the waist up, inside the vehicle with Panagiota standing over him filming the

incident. Patrolman Spronz stated he observed the car door repeatedly opening and

closing on Z.B. as Z.B. attempted to remove G.B. from the vehicle. Patrolman Spronz

testified that he then saw Z.B. exit the vehicle with G.B. in his arms, and Panagiota

walked behind, verbally berating Z.B. and grabbing at either Z.B. or G.B. Patrolman

Spronz testified that the scratch Z.B. received above his eye was consistent with the

contact between the couple as they walked across the parking lot. Patrolman Spronz

stated he saw Z.B. place G.B. in his vehicle and return to Panagiota’s vehicle where,
as he reached inside, Panagiota shut the door on his arm. Patrolman Spronz stated

he saw Panagiota slam the car door on Z.B. between three and six times, and he

observed Z.B. shake his hand and return to his vehicle. Patrolman Spronz further

stated he requested a copy of Panagiota’s video but never received a copy.

              Patrolman Spronz stated he did not recall Panagiota telling him that

her actions were intended to protect herself or G.B. or that she perceived Z.B. as an

imminent threat. Patrolman Spronz testified it was his impression that Panagiota

shared the video with him in an attempt to demonstrate Z.B.’s wrongdoing.

              Patrolman Spronz obtained photos that he testified fairly and

accurately depicted the injuries Z.B. allegedly sustained when Panagiota closed the

car door on him and scratched his face. Patrolman Spronz stated he observed a

small laceration above Z.B.’s eyebrow, redness around his eye, and a bruise and

abrasion on his left forearm, and the injuries were consistent with the acts he

observed on Panagiota’s video. Pursuant to Patrolman Spronz’s investigation, he

determined Panagiota was the primary aggressor and she was arrested and charged

with domestic violence.

              Panagiota also provided her version of the events. Panagiota testified

that she and Z.B. had court-ordered visitation and the exchange of G.B. was to occur

inside McDonald’s where there is surveillance. Panagiota testified that on a few

occasions prior to June 9, 2021, Z.B. would approach her parked vehicle to retrieve

G.B. rather than meet inside the restaurant.
              Panagiota testified that upon arrival at McDonald’s, Z.B. approached

her vehicle and she told him to get away from her car. She further stated that Z.B.

left her vehicle but returned within a minute and began jiggling her car door handle.

Panagiota stated she was frightened and exited her vehicle, leaving the front driver’s

side door open. Panagiota testified that she was scared “because of the paper we

can’t talk about” — which may have been a reference to a court order that was in

effect since 2015, prohibiting Z.B. from entering Panagiota’s car — and also

attributed her fear to the fact that Z.B. was allegedly hurting G.B. when he removed

him from her back seat. Tr. 118. No other testimony indicated Z.B. harmed G.B.

              Panagiota denied there was any confrontation between her and Z.B.

as he walked towards his truck with G.B. in his arms. Panagiota described the events

that occurred after Z.B. moved G.B. to his truck:

      Okay. So [Z.B.] takes my son into his truck and then he comes back
      and he’s yelling profanities, screaming. He comes over to the median
      and he’s looking, left, right, he’s doing this, and just, you know,
      throwing insults. He’s six-foot-two, I’m five-five, and he starts veering
      to the car. And I tell him, stay away from my vehicle. And he’s still
      yelling and screaming. Opens the door. And I went to go shut the door.

Tr. 109. Pangiota stated she told Z.B. to stay away from her vehicle but Z.B. entered

her vehicle, and she then struck him with the car door. Panagiota stated Z.B. did not

ask her for G.B.’s shoes until after she closed the car door on him.

              Upon further questioning, Panagiota testified that she did not

deliberately hit Z.B. with the car door, and she denied touching Z.B. or granting him

permission to enter her vehicle.
              Panagiota admitted that on the day of the altercation with Z.B. she

showed Patrolman Spronz the video recording she took that day, but stated that

Spronz was mistaken if he testified that he observed in the video Panagiota recording

the video on her telephone, Panagiota walking with Z.B. and grabbing him, or

Panagiota striking Z.B. three to six time with the car door.

              Monica Kerstetter (“Kerstetter”), an employee at the Middleburg

Heights McDonald’s, observed Panagiota and Z.B. at the restaurant on June 9, 2021.

Kerstetter testified that she had seen the couple exchange G.B. on prior occasions

when the couple would typically park on opposite sides of the parking lot and hand

the child to one another.

              On June 9, 2021, Kerstetter was on a break when she saw Panagiota

and Z.B. exchange G.B. Kerstetter testified that she heard yelling and the situation

escalated to physical interactions between the parties:

      It was a lot, like he was trying to get the kid out. She hit him with the
      door a couple times. He finally got the kid out in his car, and he was
      trying to like get the boy’s shoes out of the car, and she was hitting him
      with the car door. And then in between that she was always yelling at
      him, having a phone in his face while he was just trying to get the son
      and get him in the car. And then while she was like — it was just a mess
      that day.

Tr. 84. Kerstetter called the police based upon her observations.

              Kerstetter testified that she did not see Z.B. take any action that

caused her alarm or indicate he would attempt to hurt Panagiota. Kerstetter further

testified that the couple were yelling about G.B.’s shoes, and Panagiota’s comments

seemed petty. Kerstetter stated she did not hear Panagiota grant Z.B. permission to
enter her vehicle. Kerstetter also stated she did not observe Panagiota touch Z.B.

while he carried G.B. from her vehicle to his truck. Kerstetter stated she observed

Panagiota hit Z.B. twice with the car door — once when Z.B. removed G.B. from

Panagiota’s vehicle and again when Z.B. returned to the car for G.B.’s shoes.

               Following the close of the City’s case-in-chief, Panagiota made a

Crim.R. 29 motion for acquittal that the trial court denied. The jury found Panagiota

guilty of domestic violence in violation of R.C. 2919.25(A), a misdemeanor of the

first degree, and the trial court ordered a presentence investigation. On November

21, 2023, the trial court sentenced Panagiota to ten days of jail, a $100 fine plus all

court costs, and two years’ probation. Panagiota was also ordered to complete a

domestic violence program. On that same day, the trial court stayed imposition of

the sentence pending an appeal.

               On December 28, 2023, Panagiota filed a timely notice of appeal

presenting three assignments of error:

      Assignment of Error I: The trial court erred when it denied defendant-
      appellant’s motion for acquittal under Crim.R. 29 because the State
      failed to present sufficient evidence to establish beyond a reasonable
      doubt the elements necessary to support the conviction.

      Assignment of Error II: The defendant-appellant’s conviction is against
      the manifest weight of the evidence.

      Assignment of Error III: The trial court erred by failing to provide the
      jury with a written instruction regarding reasonable use of force in
      ejecting a trespasser for use during their deliberations.
Legal Analysis

               In her first assignment of error, Panagiota argues that the trial court

erred when it denied her Crim.R. 29 motion for acquittal. Specifically, Panagiota

argues she instructed Z.B. to stay away from her vehicle, she was frightened by Z.B.,

and Z.B. entered her vehicle without permission. Panagiota asserts these acts

justified her use of reasonable force to eject Z.B. from her vehicle and, therefore, the

City failed to present sufficient evidence to disprove her defense of property.

               Pursuant to Ohio law, self-defense, defense of others, and defense of

property are affirmative defenses, and the defenses are related. State v. Perez, 2010-

Ohio-3168, ¶ 11 (7th Dist.), citing State v. Martin, 21 Ohio St.3d 91 (1986); Perez at

¶ 14. A sufficiency-of-the-evidence argument is not applicable to review a self-

defense claim or, similarly, an affirmative defense of property claim. This court

previously found that

      [w]hen reviewing a claim by a defendant that evidence supports his
      claim of self-defense, the manifest weight standard is the proper
      standard of review because a defendant claiming self-defense does not
      seek to negate an element of the offense charged but rather seeks to
      relieve himself from culpability. State v. Martin (1986), 21 Ohio St.3d
      91, 21 Ohio B. 386, 488 N.E.2d 166. A sufficiency challenge is premised
      upon the quantum of evidence adduced by the prosecution. A
      defendant’s assertion on appeal that he has proven self-defense cannot
      be a sufficiency claim, but rather, must be reviewed under the standard
      for a manifest weight claim. State v. Roberts (2000), 139 Ohio App.3d
      757, 768, 745 N.E.2d 1057.

Cleveland v. Williams, 2003-Ohio-31, ¶ 10 (8th Dist.).             Thus, we overrule

Panagiota’s first assignment of error.
               In her second assignment of error, Panagiota contends that the jury’s

verdict was against the manifest weight of the evidence. A manifest weight challenge

questions the credibility of the evidence presented and examines whether the State

met its burden of persuasion at trial. State v. Whitsett, 2014-Ohio-4933, ¶ 26 (8th

Dist.), citing State v. Thompkins, 78 Ohio St.3d 380, 387 (1997); State v. Bowden,

2009-Ohio-3598, ¶ 13 (8th Dist.), citing Thompkins at 390. A reviewing court

“weighs the evidence and all reasonable inferences, considers the credibility of

witnesses and determines whether in resolving conflicts in the evidence, the jury

clearly lost its way and created such a manifest miscarriage of justice that the

conviction must be reversed and a new trial ordered.” State v. Martin, 20 Ohio

App.3d 172 (1st Dist. 1983), paragraph three of the syllabus. When considering an

appellant’s claim that a conviction is against the manifest weight of the evidence, the

court of appeals sits as a “thirteenth juror” and may disagree with the factfinder’s

resolution of the conflicting testimony. Thompkins at 387, citing Tibbs v. Florida,

457 U.S. 31, 42 (1982). A reversal on the basis that a verdict is against the manifest

weight of the evidence is granted “only in the exceptional case in which the evidence

weighs heavily against the conviction.” Martin.

               R.C. 2919.25(A), the domestic violence statute, provides: “No person

shall knowingly cause or attempt to cause physical harm to a family or household

member.” Panagiota had the burden to prove her affirmative defense: “The burden

of going forward with the evidence of an affirmative defense, and the burden of
proof, by a preponderance of the evidence, for an affirmative defense . . . is upon the

accused.” R.C. 2901.05(A).

                At trial, Panagiota argued both self-defense and defense of property

to these charges, but defense of property is the only affirmative defense raised on

appeal.1

                In the defense of one’s property, also known as the defense of

ejectment, a property owner may eject a trespasser through the use of reasonable

force after the trespasser received notice to depart and fails to do so within a

reasonable time. State v. Childers, 133 Ohio St. 508 (1938).                 “To prove the



       1 While not specifically stated in her appellate brief, Panagiota stated during oral

arguments that in accordance with R.C. 2901.05(B)(2), she was presumed to have acted in
self-defense, and the prosecution did not overcome this presumption. We do not find that
Panagiota raised on appeal issues related to her claim of self-defense but we will briefly
address them here. R.C. 2901.05(B)(2)’s rebuttable presumption applies when a person
uses force “that is intended or likely to cause death or great bodily harm.” R.C.
2901.05(B)(2). We cannot interpret Panagiota’s slamming a car door on Z.B. or scratching
his face as the use of deadly harm and, therefore, R.C. 2901.05(B)(2) in inapplicable here.

        Additionally, R.C. 2901.05(B)(1) states a person may act in self-defense, defense of
another, or in defense of that person’s residence, and if “there is evidence presented that
tends to support that the accused person used the force in self-defense, . . . the prosecution
must prove beyond a reasonable doubt that the accused person did not use the force in
self-defense . . . .” R.C. 2901.05(B)(1). In other words, if evidence at trial supports that
Panagiota used nondeadly force in self-defense, “the state must prove that (1) [Panagiota]
was at fault in creating the situation giving rise to the affray in which the force was used
or (2) [Panagiota] did not have reasonable grounds to believe or an honest belief that . . .
she was in imminent danger of bodily harm or (3) [Panagiota] used more force than was
reasonably necessary to defend against the imminent danger of bodily harm.” State v.
Jacinto, 2020-Ohio-3722, ¶ 46 (8th Dist.). A review of the record — particularly the
testimony of Kerstetter, an independent witness, and Patrolman Spronz who viewed the
video recording filmed by Panagiota and spoke with all witnesses — shows that the City
demonstrated beyond a reasonable doubt that Panagiota did not have reasonable grounds
to believe she was in imminent danger or bodily harm and, thus, Panagiota’s self-defense
claim lacked merit.
affirmative defense of defense of property, the defendant must present evidence that

he reasonably believed his conduct was necessary to defend his property against the

imminent use of unlawful force, and the force he used in defense was not likely to

cause death or great bodily harm.” State v. Fields, 2016-Ohio-8212, ¶ 35 (7th Dist.),

citing State v. Moses, 2014-Ohio-1748, ¶ 41 (10th Dist.); see State v. Howell, 1987

Ohio App. LEXIS 9348, *8 (5th Dist. Oct. 26, 1987 ) (“The property owner has the

common law right of ejecting, by use of reasonable force, trespassers upon his

property. Such reasonable force is in fact a defense to a charge of assault.”). “In

determining whether there are reasonable grounds for believing there was an

imminent threat of great bodily harm, the court can consider whether the defendant

received prior threats or encountered prior trespassers.” State v. Ludt, 2009-Ohio-

416, ¶ 25 (7th Dist.), citing State v Fields, 84 Ohio App.3d 423, 428 (12th Dist. 1992).

               Here, the parties do not dispute that Panagiota’s property — her

vehicle — was owned by her. Reviewing the evidence in this case, we conclude that

Panagiota’s affirmative defense of defense of property is not supported by a

preponderance of the evidence.

               Pangiota testified that she was frightened by Z.B. because of an

outstanding court order that prevented Z.B. from accessing her vehicle and because

she believed Z.B. was harming G.B. as he unbuckled him in her back seat. Panagiota

testified that when Z.B. returned to her car to retrieve G.B.’s shoes, she instructed

him to stay away from her vehicle but he did not cooperate. Panagiota further
testified that she struck Z.B. once with the car door and any testimony to the

contrary was incorrect.

              Panagiota’s testimony was in contrast to that presented by Z.B.,

Patrolman Spronz, and independent witness Kerstetter. And the testimony from

those witnesses was, for the most part, consistent with Z.B.’s version of the events

that took place on June 9, 2021.

              We note that any fear Panagiota had related to the alleged physical

harm of G.B. did not reasonably justify Panagiota attempting to eject Z.B. from her

vehicle when he returned for G.B.’s shoes. At that time, G.B. was buckled into Z.B.’s

truck, and Panagiota could not claim any potential harm to her son.

              Further, Panagiota did not offer a reasonable explanation as to why

she believed it was necessary to shut her car door on Z.B. to defend her vehicle when

Z.B. returned to Panagiota’s vehicle to retrieve G.B.’s shoes. Z.B. testified that he

asked Panagiota for the child’s shoes before he walked to her car to pick them up but

she refused to assist him. Independent witness Kerstetter testified that she could

hear the couple arguing about their child’s shoes, and she heard Panagiota state,

“[Y]ou can go buy him shoes” or “[Y]ou don’t need the shoes that I have.” Tr. 86.

Kerstetter testified that she did not observe any behavior to suggest Z.B. would harm

Panagiota or her vehicle nor did Patrolman Spronz testify to such observations.

Following his interviews with the parties and viewing Panagiota’s recording of the

incident, Patrolman Spronz believed Panagiota was the primary aggressor and

engaged in domestic violence.
               A review of the record demonstrates that the factfinder did not lose

its way and create a manifest miscarriage of justice in finding Panagiota guilty of

domestic violence. Further, her conviction is supported by substantial, credible

evidence upon which the jury could reasonably have concluded that the elements of

Panagiota’s claim of defense of property were not proven by a preponderance of the

evidence. Thus, we overrule Panagiota’s second assignment of error.

               In her third assignment of error, Panagiota contends that the trial

court erred when it failed to provide the jury with a complete set of written jury

instructions for use during their deliberations. Specifically, Panagiota argues the

exclusion from the written instructions of the paragraph on the defense of property

prejudiced her and denied her the fundamental right to a fair trial.

               Crim.R. 30 governs jury instructions. Crim.R. 30 requires the trial

court to “reduce its final instructions to writing or make an audio, electronic, or

other recording of those instructions, provide at least one written copy or recording

of those instructions to the jury for use during deliberations, and preserve those

instructions for the record.”

               Panagiota did not object to the trial court’s written jury instructions

on this basis below. Accordingly, we review this claim for plain error. Crim.R. 30;

Crim.R. 52(B). Under Crim.R. 52(B), a plain error affecting a substantial right may

be noticed on appeal even though it was not brought to the trial court’s attention.

To constitute plain error, there must be an error that is plain or obvious that affected

the outcome of the case. In Re: J.G., 2013-Ohio-583, ¶ 10 (8th Dist.), citing State v.
Barnes, 94 Ohio St.3d 21, 27 (2002); State v. Harrison, 2009-Ohio-3547, ¶ 61 (an

error rises to the level of plain error only if, “‘but for the error, the outcome of the

trial clearly would have been otherwise’”), quoting State v. Long, 53 Ohio St.2d 91,

97 (1978). Notice of plain error “‘is to be taken with the utmost caution, under

exceptional circumstances, and only to prevent a manifest miscarriage of justice.’”

Barnes, quoting Long.

               Following the introduction of evidence at trial, the trial court read the

jury instructions to the panel, including the following paragraph on the defense of

property:

      A defendant has a common law right to eject another from their
      property including a vehicle by using reasonable force if the defendant
      has a reasonable belief of a threat to that property or that the other
      person would remain on or in the property in contradiction to their
      direction to leave. The defendant must give another a verbal or a
      written warning or notice to leave and must give a reasonable time for
      response to that request.

Tr. 145.

               Contained in the record is a set of jury instructions (“written jury

instructions”) that are presumably the written jury instructions provided to the jury

during deliberations. The written jury instructions do not include the above-

referenced paragraph on the defense of property.

               The trial court charged the jury with all relevant jury instructions, but

failed to fully comply with Crim.R. 30 when it provided the jury with an incomplete

set of written jury instructions. “‘The proper procedure is for the trial court to

explicitly follow Crim.R. 30 when instructing a jury.’” State v. Singleton, 2013-Ohio-
1440, ¶ 22 (8th Dist.), quoting State v. Comen, 50 Ohio St.3d 206, 210 (1990).

However, even where the trial court fails to fully comply with Crim.R. 30, absent

prejudice there is no reversible error. Singleton.

                Pursuant to our review of the record and our manifest weight of the

evidence analysis, it cannot be reasonably argued that had the full set of written jury

instructions been submitted to the jury, the outcome of the case clearly would have

been different. See State v. Wiley, 2014-Ohio-27, ¶ 56 (8th Dist.) (“Although the

trial court did not comply with Crim.R. 30(A), Wiley has not demonstrated that the

trial court’s failure rises to the level of plain error, i.e., that if the court had provided

all of its instructions in writing to the jury, the outcome of the trial would have been

different.); State v. Demecs, 2006-Ohio-3802, ¶ 22 (6th Dist.) (Where it could not

be reasonably argued that the outcome of the trial clearly would have been different

had the trial court submitted a complete set of jury instructions to the jury, no plain

error was demonstrated.). There was abundant evidence to support Panagiota’s

conviction. Only Panagiota’s testimony supported her defense-of-property claim,

and this was contradicted by the testimony of Z.B., Patrolman Spronz, and

independent witness Kerstetter.        Thus, Panagiota’s third assignment of error is

overruled.

                Judgment affirmed.

       It is ordered that appellee recover from appellant costs herein taxed.

       The court finds there were reasonable grounds for this appeal.
      It is ordered that a special mandate issue out of this court directing the Berea

Municipal Court to carry this judgment into execution. The defendant’s conviction

having been affirmed, any bail pending appeal is terminated. Case remanded to the

trial court for execution of sentence.

      A certified copy of this entry shall constitute the mandate pursuant to Rule 27

of the Rules of Appellate Procedure.



MARY EILEEN KILBANE, JUDGE

KATHLEEN ANN KEOUGH, A.J., and
EMANUELLA D. GROVES, J., CONCUR
